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, D 3/$,17,))6                                                                                                 '()(1'$176
  Richard Kadrey, an individual; Sarah Silverman, an individual; Christopher Golden, an individual
                                                                                                             Meta Platforms, Inc., a Delaware corporation
      E &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII               Allegheny County, PA                        &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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 See Attachment 1
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          VHFWLRQ EODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDO YHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\ LQZKLFKDVXEVWDQWLDOSDUWRI WKH
          HYHQWVRU RPLVVLRQVZKLFKJLYHULVHWR WKH FODLP RFFXUUHG RULQZKLFKDVXEVWDQWLDOSDUWRI WKH SURSHUW\WKDWLVWKHVXEMHFWRI WKH DFWLRQLVVLWXDWHG´
   'DWHDQG$WWRUQH\6LJQDWXUH 'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
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